
Van Brunt, P. J.
It is admitted in this case that the total value of the goods illegally seized amounted to over $25,000, and the jury have found that the plaintiff was the owner thereof, and that the goods were seized by the sheriff at one time, and that the defendants gave the first bond of indemnity, and that the defendants’ claim amounted to over $18,000. At the time of the levy the sheriff held one other bond of indemnity, and subsequently other bonds were given.
Evidence as to the bonds of indemnity other than that given by defendants, was objected to by the plaintiffs’ counsel, but his objection was overruled and an exception taken.
The learned judge limited the recovery of the plaintiff in this action to the proportions which the defendants’ bond of indemnity bore to the whole number of bonds held by the sheriff.
In this we think the learned court erred.
It is a well settled rule that where there are joint trespasses, the party injured may proceed against one, several *614or all for the recovery of his damages, and that he may recover his whole damages against any one; and that he may bring separate actions against each trespasser, but the satisfaction of a judgment obtained against any one of the trespassers is a bar to any further procedure in any of the other actions. Wehle v. Butter (61 N. Y., 245).
In the case of a trespass by several persons, the wrong is joint and several. Therefore the satisfaction of the judgments in the case under consideration would be a bar to any action against any of the other trespassers.
Each party to the trespass being liable for the whole damage, the plaintiffs in this action had the right to recover their whole damage against the defendants.
The learned court, it is claimed based his ruling upon the case of O'Donohue v. Simmons (31 Hun, 267).
Even if it be true that the sheriff can only recover pro . rata of indemnitors, which is all that is culminated in that case, which can be claimed to be pertinent to this appeal, such a rule has no application to the case at bar.
This was not an action upon the bond of indemnity. The bond was only evidence that the defendants aided and abetted the sheriff in the trespass, and was proof of the same character as evidence of the presence of the defendants with the sheriff at the time of the trespass, would have been.
The plaintiff having the right to recover against any one or two or three of the trespassers his whole damage, was entitled to recover his whole damage in this action.
It is not necessary to pass upon any other question raised upon the argument of this appeal.
Judgment must be reversed and new trial granted with costs to the appellant to abide event.
Bartlett, J., concurs.
